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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


JERMICHAEL BROWN, JR.,                                JURY TRIAL DEMANDED

               Plaintiff,
                                                      CASE NO.: 1:25-cv-442
v.                                                    HON.

MUSKEGON RIVER YOUTH
HOME, LLC; MUSKEGON RIVER
YOUTH HOME, INC.; MUSKEGON
RIVER YOUTH HOME REAL
ESTATE, LLC, d/b/a K & K LAND
LLC; MUSKEGON RIVER
PATHWAY OF HOPE LLC,
formerly d/b/a YOUTH
OPPORTUNITY CENTER FOR
SUCCESS AND INDEPENDENCE;
MECOSTA-OSCEOLA
INTERMEDIATE SCHOOL
DISTRICT; MECOSTA-OSCEOLA
INTERMEDIATE SCHOOL
DISTRICT BOARD OF
EDUCATION; and JOHN/JANE
DOES 1-10, in their official, professional,
personal, and individual capacities, jointly
and severally;

       Defendants.




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                                         COMPLAINT

       Plaintiff Jermichael Brown, Jr. (“Brown”), by and through counsel, alleges as follows,

against Defendants Muskegon River Youth Home, LLC, Muskegon River Youth Home, Inc.;

Muskegon River Youth Home Real Estate, LLC, d/b/a K & K Land, LLC; Muskegon River

Pathway of Hope LLC, formerly d/b/a Youth Opportunity Center for Success and Independence;

Mecosta-Osceola Intermediate School District; Mecosta-Osceola Intermediate School District

Board of Education; and John/Jane Does 1-10, in their official, professional, personal, and

individual capacities (collectively “Muskegon River Youth Home”, “Muskegon River”,

“MRYH”, the “Facility”, the “School”, and/or “Defendants”):

                                       INTRODUCTION

   1. At all relevant times to this Complaint, Muskegon River Youth Home operated a

       residential facility where juveniles were placed by the judicial system or their parents in

       Evart, Osceola County, Michigan.

   2. Muskegon River Youth Home operated from approximately 1996 to approximately 2024.

   3. Muskegon River Youth Home was delegated a critical and legislatively mandated public

       function: (a) to provide a custodial setting for children adjudicated delinquent in juvenile

       court proceedings, as well as children at risk for delinquency or criminal conduct; (b) to

       carry out legislatively mandated control and related services; and (c) to provide

       appropriate sanctions and rehabilitation under the laws governing punishment and

       treatment of juveniles for criminal acts.

   4. Upon information and belief, Muskegon River Youth Home accepted juveniles court-

       ordered or otherwise placed into their care in Mecosta, Osceola, Kent, Wayne, and other




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   Michigan Counties, by their respective parents, judges, and/or child protective and care

   agencies.

5. Upon information and belief, Muskegon River Youth Home offered rehabilitation,

   education, and support services for youth.

6. Mecosta-Osceola Intermediate School District provided educational services at

   Muskegon River Youth Home.

7. Instead of fulfilling its promise and solemn responsibility to protect these vulnerable

   youth, they were exposed to predators and abusers. Muskegon River Youth Home failed

   to enact safety measures and other policies to protect children; failed to adequately

   screen, hire, train, and supervise staff; and failed to fulfill its duties under state and

   federal law and, as a result of the Defendants’ misconduct, Plaintiff was physically and

   sexually abused.

8. Thus, Muskegon River Youth Home acted as an arm of the State of Michigan, where it

   operated, providing a core public function, and was a state governmental actor for 42

   U.S.C. § 1983 liability purposes.

9. Muskegon River Youth Home acted as an arm of the State of Michigan, where it

   operated, providing a core public function, acting under the color of law for 42 U.S.C. §

   1983 liability purposes.

10. Defendants were bound by the "Balanced and Restorative Justice" (BARJ) philosophy

   which requires that "youth committing delinquent acts are provided with supervision,

   care, and rehabilitation (the legal basis for treatment of those adjudicated in the juvenile




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       court system) in a manner that is balanced to include (1) community protection, (2)

       personal and legal responsibility, and (3) competency development." 1

    11. Defendants violated the clearly established federal Constitutional and statutory rights of

       Plaintiff pursuant to the Fourth, Eighth, and Fourteenth Amendments, and committed

       tortious conduct under state law, by subjecting Plaintiff to harmful and degrading

       physical, mental, and sexual abuse, including using physical force, and by failing to

       protect him from harm and injuries at the hands of others.

    12. Defendants violated Plaintiff’s state and federal Constitutional rights to educational

       opportunities.

    13. Defendants caused the injuries and harms to Plaintiff by failing to properly train,

       supervise, and discipline the all the staff members and, as a result, the John/Jane Doe

       Defendants, as a matter of practice and custom, engaged in the prohibited conduct on a

       systematic basis with the expectation that their conduct would not be subject to discipline

       or sanctions.

    14. Further, Defendants failed to protect Plaintiff from assaults and abuse by staff and fellow

       students at Muskegon River Youth Home.

    15. Because of Defendants' conduct, Plaintiff suffered and continues to suffer harm,

       including emotional distress, physical manifestations of emotional distress,

       embarrassment, loss of self-esteem, disgrace, humiliation, and loss of enjoyment of life,

       all of which adversely affects his daily activities and the full enjoyment of life. Plaintiff

       has already and will in the future sustain a loss of earnings and earning capacity and has



1
 STATE OF MICHIGAN DEPARTMENT OF HEALTH & HUMAN SERVICES, JUVENILE JUSTICE FIELD SERVICES MANUAL,
JJM 110 (Oct. 1, 2020), https://mdhhs-pres-prod.michigan.gov/olmweb/EX/JJ/Public/JJM/110.pdf.

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   and will continue to incur expenses for medical and psychological treatment, therapy, and

   counseling.

16. Accordingly, Plaintiff makes individual claims for the abuse he suffered from

   Defendants’ conduct.

17. Plaintiff brings this lawsuit to hold Defendants accountable for the harm they caused him.

                            JURISDICTION AND VENUE

18. This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1331 (federal

   question) and § 1343 because Plaintiff alleges actions arising under the laws of the

   United States, including the Civil Rights Act of 1871, and 42 U.S.C. §§ 1983, 1985, and

   1988, and deprivation of his federal constitutional rights to equal educational

   opportunities and other related federal rights.

19. At all relevant times, the individual Defendants acted under the color of state law and

   such actions were performed in the course and scope of their employment.

20. This Court has subject matter jurisdiction over individual claims brought by Plaintiff,

   based on the federal questions raised pursuant to 28 U.S.C. §§ 1331 and 1343, and 42

   U.S.C. § 1983.

21. The amount in controversy, without interest and costs, exceeds $75,000.

22. This Court has supplemental jurisdiction over the state law claims, pursuant to 28 U.S.C.

   § 1367.

23. Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) in that the events and/or

   omissions giving rise to the claim occurred in this District and Defendants regularly

   conducted business within this Federal District, including accepting into their care

   residents from this District and providing care to residents in this District.


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                                        PARTIES

24. Plaintiff is Jermichael Brown, Jr., an individual and resident of the United States of

   America, and the State of Michigan.

25. Defendant Muskegon River Youth Home, LLC, is a registered business with a

   corporate headquarters in Michigan which, at all times relevant to this Complaint,

   conducted business in Mecosta and Osceola Counties, Michigan.

26. Defendant Muskegon River Youth Home, Inc. is a registered business with a corporate

   headquarters office within Michigan which, at all times relevant to this Complaint,

   conducted business in Mecosta and Osceola Counties, Michigan.

27. Defendant Muskegon River Youth Home Real Estate, LLC, d/b/a K & K Land LLC,

   is a registered business with a corporate headquarters office within Michigan which, at all

   times relevant to this Complaint, conducted business in Mecosta and Osceola Counties,

   Michigan.

28. Defendant Muskegon River Pathway of Hope LLC, formerly d/b/a Youth

   Opportunity Center for Success and Independence is a registered business with a

   corporate headquarters office within Michigan which, at all times relevant to this

   Complaint, regularly conducted business in Mecosta and Osceola Counties, Michigan.

29. Defendant Mecosta-Osceola Intermediate School District (MOISD) was at all relevant

   times and continues to be a public educational institution in Mecosta County, Michigan

   and existing under the laws of the State of Michigan.

30. Defendant MOISD Board of Education was at all relevant times and continues to be the

   governing body of MOISD.




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31. Defendants John/Jane Does 1-10 are current and former owners, managers,

   administrators, supervisors, teaching staff, medical staff, and others who, at all times

   relevant to this Complaint, were employed by or were under the control of Muskegon

   River Youth Home and/or MOISD and abused and/or facilitated the abuse of children at

   Muskegon River Youth Home.

                       COMMON FACTS AND ALLEGATIONS

32. MRYH received children from across the State of Michigan.

33. Children were referred to MRYH based upon Department of Human Services (DHS)

   referrals, judicial orders, or parent decisions.

34. MOISD provided educational services at MRYH.

                        Jermichael Brown, Jr.’s Abuse at MRYH

35. Plaintiff was court-ordered to reside at MRYH.

36. At all times relevant hereto, Plaintiff was a victim of abuse during his time at Defendant

   MRYH’s facility by its staff members.

37. Plaintiff avers that MRYH knew or should have known that its employee(s) had

   committed acts of abuse upon one or more of the other residents of its facility(ies) prior

   to the time that Plaintiff was subjected to the acts of abuse that are the subject of this

   filing.

38. Plaintiff describes the following incidents involving assault while he was housed at a

   MRYH facility:

       a. Plaintiff was court ordered to live at MRYH when he was a juvenile in

             approximately 2019, when he was approximately 15 years old.




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    b. While residing at MRYH, staff members Dewey, Beard, and Cast restrained him

       and another student using extreme force while Plaintiff was not verbally and/or

       physically resisting any staff commands.

    c. Staff member Beard slammed Plaintiff onto the floor.

    d. After Plaintiff was slammed onto the floor, staff member Cast slammed Plaintiff’s

       head into a metal bed frame.

    e. Both being slammed onto the floor and into the bed frame caused Plaintiff

       substantial pain.

    f. In a separate occasion staff member Ms. Nicole went to Plaintiff’s room and said

       “let me see you beat off again, I like what I seen last night,” directly referencing

       wanting to see Plaintiff engage in masturbation.

    g. Plaintiff responding to Ms. Nicole’s command and began using his hand to stroke

       his genitals while she observed him doing so.

    h. While Plaintiff was being forced to masturbate, Ms. Nicole touched Plaintiff’s

       body while using her phone to show him photos of her naked and in various states

       of undress.

    i. Ms. Nicole told Plaintiff not to inform anyone else that she ordered him to

       masturbate and/or that she had shown him naked pictures of herself.

    j. Plaintiff observed Ms. Nicole and staff member Tom punish a separate resident

       after he told staff members, including one believed to be a supervisor, about the

       sexual abuse perpetrated by Ms. Nicole.

    k. As a result, Plaintiff feared reporting Ms. Nicole’s abuse.




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39. Specifically, regarding staff member(s), Ms. Nicole it is averred that the physical contact

   she made with Plaintiff’s body was indecent contact for the purpose of arousing the

   aforementioned individual(s).

40. MRYH supervisors, employees, administrators, and/or staff members implicated who

   directly caused the harm to Plaintiff and/or threatened Plaintiff were acting within the

   scope of their duties as employees of MRYH and caretakers to Plaintiff.

41. It is averred MRYH’s staff, supervisors, administrators, and employees actively

   discouraged and prevented disclosure to third parties about any claims of child abuse

   against any staff member at any facility operated by Defendants.

                Defendants Had a Duty to Provide a Safe and Secure
              Facility for Juveniles Committed to or Otherwise Housed at
                     MRYH and Provide Educational Opportunities
                 Pursuant to Constitutional and State Law Mandates

42. At all times the institutional Defendants and all their staff members, workers, employees,

   servants, volunteers, and the like were mandatory reporters pursuant to Michigan law and

   were required to report any suspected child abuse pursuant to section (3) of M.C.L.

   722.623, et seq.; and all other applicable child abuse reporting requirement laws related

   to mandatory abuse reporters and applicable to Defendants’ facilities.

43. MRYH served as a custodial facility for the placement of juvenile court adjudicated

   youth and other at-risk youth. Operating from approximately 1996 until approximately

   2024, MRYH provided juvenile residential care for the duration of its existence. Upon

   information and belief, it claimed to assess the unique needs of each student, teach tools

   for success, and offer meaningful opportunities for personal growth.

44. Upon information and belief, children with a wide range of backgrounds, abilities, and

   diagnoses received treatment from MRYH programs. MRYH offered clinical,

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   therapeutic, educational, and employment programs for children with special needs and

   their families.

45. Upon information and belief, there was no clear and safe mechanism by which victims

   could report abuse within MRYH; as reported, those who did report were disbelieved, or

   worse, retaliated against, exacerbating and amplifying the trauma of the actual abuse.

46. In 2018, MRYH was sued by the parents of a child who committed suicide while he was

   at the facility. The lawsuit alleged that MRYH knew that the child was suicidal and

   depressed but left him alone in his room without providing required checks every 15

   minutes. Hutchinson, et al. v. Muskegon River Youth Home, Inc., et al., No. 1:18-cv-647

   (W.D. Mich. Jun. 8, 2018).

47. In 2020, MRYH was sued by the parent of a child who alleged the child was severely

   physically and psychologically abused while he was at the facility. Kaczynski v.

   Muskegon River Youth Home, Inc., et al., No. 1:20-cv-126 (W.D. Mich. Feb. 12, 2020).

48. In 2012, the U.S. Equal Employment Opportunity Commission (EEOC) obtained a ten-

   year consent decree after filing federal litigation against MRYH alleging discrimination

   against pregnant employees. The lawsuit alleged that the home violated Title VII of the

   Civil Rights Act of 1964 by discriminating against female employees on the basis of their

   sex. EEOC v. Muskegon River Youth Home, Inc., No. 1:12-cv-01049 (W.D. Mich. Sep.

   27, 2012).

49. Upon information and belief, many of the children who were housed at MRYH were

   vulnerable, intellectually disabled, and/or already fleeing from abuse.

50. The power differential between children with physical, emotional and/or intellectual

   disabilities and behavioral health staff is distinctively extreme. Youth with disabilities are


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   easily targeted because they are more likely to be perceived as weak or vulnerable, and

   are seen as less likely to report abuse, especially when the victim has limited

   communication abilities or cognitive impairments. Especially in a group home or

   residential treatment setting, abuse can more easily be hidden, and children have limited

   access to police, advocates, or social services representatives who can intervene.

51. Upon information and belief, MRYH failed to enact appropriate uniform national and

   system-wide protocols and policies to ensure the safety of its youth. Defendants acted

   with an extreme disregard for the wellbeing of children in its programs by failing to

   properly screen, hire, and train employees, failing to report known abuse of youth in

   MRYH facilities, and ignoring and covering up complaints alleged against it regarding

   child abuse.

52. Further, MRYH failed to enact sufficient measures to ensure the safety of youth in its

   care.

53. Moreover, MRYH’s lack of and/or failure to enforce adequate policies and procedures

   for the prevention of, and proper response to, abuse of its students exacerbated and

   amplified the trauma of the actual abuse due to institutional betrayal.

54. The term “Institutional Betrayal” refers to wrongdoings perpetrated by an institution

   upon individuals dependent on that institution, including failure to prevent or respond

   supportively to wrongdoings by individuals (e.g., physical, emotional, and sexual abuse)

   committed within the context of the institution.

55. These failures, acts, and egregious omissions created a highly dangerous risk of physical,

   emotional, and sexual abuse for any child placed in a MRYH program or facility. This

   pervasive culture of abuse allowed perpetrators access and opportunity to abuse highly


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   vulnerable children and young adults and gave them the impunity to act without the risk

   of detection or punishment.

56. Upon information and belief, MRYH was funded in large part by the State of Michigan

   and other government entities, jurisdictions, and agencies, both inside and outside

   Michigan, to provide services mandated by law for children who had been ordered to

   receive its services by a court.

57. Defendants had the duty to provide treatment, supervision, and rehabilitation in

   accordance with federal and state Constitutional standards and laws and prevailing

   standards for the care and custody of juveniles in need of treatment and supervision. As

   detailed in this Complaint, Defendants failed to provide these services in accord with

   Constitutional, statutory, and community standards of care.

                            COMMON CAUSES OF ACTION

                                      Federal Law Claims

                 COUNT 1 – Violations of Title IX 20 U.S.C. § 1681 et seq.
                    Deliberate Indifference to Sex Discrimination
                     As to the MRYH and MOISD Defendants

58. Plaintiff alleges and incorporates via reference the allegations contained in all the above

   paragraphs, as fully as though the same were set forth herein at length.

59. Federal law, Title IX of the Education Amendments of 1972 (“Title IX”), 20 U.S.C. §

   1681(a), states: “No person in the United States shall, on the basis of sex, . . . be

   subjected to discrimination under any education program or activity receiving Federal

   financial assistance. . . .”

60. Title IX is implemented through the U.S. Department of Education (DOE) regulations,

   which apply to “every recipient [of federal funding] and to all sex discrimination


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   occurring under a recipient's education program or activity in the United States,” 34

   C.F.R. § 106.11, and which covers sexual harassment—including sexual assault—by

   school employees, students, and third parties.

61. The DOE regulations further require that recipients of federal financial assistance “must

   adopt, publish, and implement grievance procedures . . . that provide for the prompt and

   equitable resolution of complaints made by students, employees, or other individuals who

   are participating or attempting to participate in the recipient's education program or

   activity, or by the Title IX Coordinator, alleging any action that would be prohibited by

   Title IX or this part.” 34 C.F.R. § 106.8(b)(2).

62. Plaintiff is a “person” under Title IX.

63. Defendants’ programs and facilities included educational programs. Education was a

   primary aspect of the services Defendants provided to MRYH residents.

64. Defendants received federal financial assistance for their education programs and was

   therefore subject to the provisions of Title IX of the Educational Amendments of 1972,

   20 U.S.C. §§ 1681, et seq., and its implementing regulations at 34 C.F.R. §§ 106.1 et seq.

65. Under Title IX, Defendants were required to promptly investigate and address

   allegations, reports, and complaints of sexual harassment, assault, and abuse of youth in

   its programs.

66. Plaintiff and other children were subjected to sexual harassment, abuse, and assault by

   MRYH staff members while a resident at MRYH.

67. The sexual harassment, abuse, and assault experienced by Plaintiff and other children at

   MRYH constituted sex discrimination under Title IX.




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68. Defendants were on notice of the conduct as described above but nonetheless failed to

   carry out their duties to investigate and take corrective action under Title IX.

69. Defendants failed to take immediate, effective remedial steps to resolve Plaintiff’s and

   other children’s complaints of sex discrimination and instead acted with deliberate

   indifference to Plaintiff’s and other children’s claims, including punishing another child

   for reporting abuse.

70. The sexual harassment, abuse, and assault experienced by Plaintiff at MRYH was so

   severe, pervasive and objectively offensive that it impeded and effectively denied

   Plaintiff’s equal access to educational opportunities and benefits.

71. Defendants engaged in a pattern and practice of behavior designed to discourage and

   dissuade children who had experienced sexual assault and discrimination from seeking

   assistance and protection.

72. Defendants were deliberately indifferent to Plaintiff’s sexual abuse by, among other

   things:

       a. Failing to promptly and adequately investigate, remedy, and respond to his and

             other children’s complaints about sexual abuse at MRYH;

       b. Punishing children for reporting sex abuse;

       c. Failing to adequately train and supervise staff members on how to respond to and

             address sex abuse; and

       d. Failing to maintain appropriate numbers of staff to ensure that there were no blind

             spots where sex abuse could go undetected.

73. Defendants are also liable for their failure to remedy the hostile educational environment

   experienced by Plaintiff by failing to offer appropriate interim measures and


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   accommodations that could have provided him equal access to educational opportunities

   and benefits and failing to remedy known sexually hostile environments.

74. As a direct and proximate result of Defendants’ actions and inactions, Plaintiff suffered

   damages, including emotional distress, great pain of mind and body, shock,

   embarrassment, humiliation, loss of self-esteem, physical pain and suffering, a loss of

   income, and a loss of education.

75. In subjecting Plaintiff to this wrongful treatment as described, and through its violations

   of Title IX, Defendants acted willfully and maliciously with the intent to harm Plaintiff,

   and in conscious disregard of Plaintiff’s rights, so as to constitute malice and oppression.

   Plaintiff is therefore entitled to the recovery of punitive damages, in an amount to be

   determined by the court, against Defendants, in a sum to be shown according to proof.

76. Furthermore, Plaintiff requests the award of attorneys’ fees pursuant to 42 U.S.C. §

   1988(b).

   WHEREFORE, Plaintiff, demands judgment against Defendants, individually, jointly

   and/or severally, in an amount in excess of Seventy-Five Thousand Dollars ($75,000.00),

   exclusive of prejudgment interest, costs and damages for pre-judgment delay, punitive

   damages, and such other legal and equitable relief as the Court deems appropriate.

                COUNT 2 – Violations of Title IX 20 U.S.C. § 1681 et seq.
                Policy or Practice/Heightened Risk of Sexual Harassment
                        As to the MRYH and MOISD Defendants

77. Plaintiff alleges and incorporates via reference the allegations contained in all the above

   paragraphs, as fully as though the same were set forth herein at length.




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78. The abuse described previously in this Complaint created an abusive and sexually hostile

   educational environment on MRYH’s campus that impeded and effectively denied

   Plaintiff’s equal access to educational opportunities and benefits.

79. Defendants are liable for the abusive and hostile educational environment on campus

   because they had actual knowledge of its staff in sex discrimination and abuse of children

   but allowed them to continue to have unfettered access to children.

80. Upon information and belief, Defendants failed to provide appropriate training and

   supervision of its staff to ensure that sexual abuse of children would not occur and that, if

   it did, it would be addressed appropriately.

81. As a direct and proximate result of Defendants’ actions and inactions, Plaintiff suffered

   damages, including emotional distress, great pain of mind and body, shock,

   embarrassment, humiliation, loss of self-esteem, physical pain and suffering, a loss of

   income, and a loss of education.

82. In subjecting Plaintiff to this wrongful treatment as described, and through its violations

   of Title IX, Defendants acted willfully and maliciously with the intent to harm Plaintiff,

   and in conscious disregard of Plaintiff’s rights, so as to constitute malice and oppression.

   Plaintiff is therefore entitled to the recovery of punitive damages, in an amount to be

   determined by the court, against Defendants, in a sum to be shown according to proof.

83. Furthermore, Plaintiff requests the award of attorneys’ fees pursuant to 42 U.S.C. §

   1988(b).

   WHEREFORE, Plaintiff, demands judgment against Defendants, individually, jointly

   and/or severally, in an amount in excess of Seventy-Five Thousand Dollars ($75,000.00),




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   exclusive of prejudgment interest, costs and damages for pre-judgment delay, punitive

   damages, and such other legal and equitable relief as the Court deems appropriate.

                COUNT 3 – Violations of Title 42 (42 U.S.C. § 1983 et seq.)
                  Civil Rights Deprivation and Excessive Use of Force
                                 As to All Defendants

84. Plaintiff alleges and incorporates via reference the allegations contained in all the above

   paragraphs, as fully as though the same were set forth herein at length.

85. Pursuant to the Fourth, Eighth and Fourteenth Amendments of the United States

   Constitution, at all times relevant, Plaintiff had the right to be free from cruel, unusual

   and excessive force while under the custody and control of Defendants.

86. At all times Plaintiff was unarmed, and did not pose a threat of safety to Defendants or

   others.

87. Under all circumstances known to Defendants, the physical force used against Plaintiff

   was objectively and clearly excessive.

88. The Fourth, Eighth, and Fourteenth Amendments to the United States Constitution

   protect Plaintiff from physical and sexual abuse and unreasonable uses of force by

   Defendants.

89. These Amendments also require Defendants to establish policies and practices to protect

   Plaintiff and other children from known harms and known patterns of constitutional

   deprivations.

90. Defendants violated Plaintiff’s clearly established right to be free from unreasonable and

   excessive use of force as guaranteed by the Fourth, Eighth and Fourteenth Amendments

   to the United States Constitution.




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91. MRYH acted as an arm of the State of Michigan, where it operated, providing a core

   public function, and was a state governmental actor for 42 U.S.C. § 1983 liability

   purposes.

92. As a direct and proximate result of Defendants’ actions and inactions, Plaintiff suffered

   damages, including emotional distress, great pain of mind and body, shock,

   embarrassment, humiliation, loss of self-esteem, physical pain and suffering, a loss of

   income, and a loss of education.

93. In subjecting Plaintiff to this wrongful treatment as described, and through its violations

   of Plaintiff’s Constitutional rights, Defendants acted willfully and maliciously with the

   intent to harm Plaintiff, and in conscious disregard of Plaintiff’s rights, so as to constitute

   malice and oppression. Plaintiff is therefore entitled to the recovery of punitive damages,

   in an amount to be determined by the court, against Defendants, in a sum to be shown

   according to proof.

94. Furthermore, Plaintiff requests the award of attorneys’ fees pursuant to 42 U.S.C. §

   1988(b).

   WHEREFORE, Plaintiff demands judgment against Defendants, individually, jointly

   and/or severally, in an amount in excess of Seventy-Five Thousand Dollars ($75,000.00),

   exclusive of prejudgment interest, costs and damages for pre-judgment delay, punitive

   damages, and such other legal and equitable relief as the Court deems appropriate.

                COUNT 4 – Violations of Title 42 (42 U.S.C. § 1983 et seq.)
                                   Monell Liability
                                As to All Defendants

95. Plaintiff alleges and incorporates via reference the allegations contained in all the above

   paragraphs, as fully as though the same were set forth herein at length.


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96. At all times relevant hereto, Defendants failed to train, discipline and supervise MRYH

   employees responsible for Plaintiff’s custody and care, and/or encouraged MRYH

   employees to violate federal and state laws without regard to the constitutional rights of

   citizens to be free from violations of the Fourth, Eighth and Fourteenth Amendments to

   the United States Constitution.

97. At all times relevant hereto, Defendants refused to provide MRYH employees any

   training, discipline and supervision with regard to the constitutional rights of citizens to

   be free from violations of the Fourth, Eighth and Fourteenth Amendments to the United

   States Constitution; refused to provide MRYH employees with supervision and discipline

   to protect the constitutional rights of citizens; and refused to require MRYH employees to

   follow policies and procedures and state and federal law relating to Plaintiff’s right to be

   provided with medical care for serious medical needs.

98. At all times relevant hereto, Defendants knew, or should have known, that the policies,

   procedures, training supervision and discipline of MRYH employees were inadequate for

   the tasks that each Defendant was required to perform.

99. At all times relevant hereto, there was a complete failure to train, supervise and discipline

   MRYH employees. The training, supervision and lack of discipline were so reckless that

   future violations of the constitutional rights of citizens to be free from violations of the

   Fourth, Eighth and Fourteenth Amendments to the United States Constitution, as

   described in the preceding paragraphs, were certain to occur.

100. At all times relevant hereto, Defendants were on notice and knew that the failure of

   training, discipline and/or supervision of MRYH employees with regard to the

   constitutional rights of citizens to be free from violations of the Fourth, Eighth and


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   Fourteenth Amendments to the United States Constitution, as described in the preceding

   paragraphs, were inadequate and would lead to the violation of Plaintiff’s constitutional

   rights.

101. At all times relevant hereto, Defendants’ response to this knowledge was so inadequate

   as to show a complete disregard for whether MRYH employees would violate the

   constitutional rights of citizens to be free from violations of the Fourth, Eighth and

   Fourteenth Amendments to the United States Constitution.

102. Defendants implicitly authorized, approved, or knowingly acquiesced in the excessive

   force and cruel and unusual punishment of citizens, and knew, or should have known,

   that such treatment would deprive MRYH residents of their constitutional rights.

103. At all times relevant hereto, there was a clear and persistent pattern of violations of

   citizens' constitutional rights to be free from violations of the Fourth, Eighth and

   Fourteenth Amendments to the United States Constitution, as described in the preceding

   paragraphs.

104. At all times relevant hereto, Defendants knew, or should have known, that there was a

   clear and persistent pattern of violations of citizens' constitutional rights to be free from

   violations of the Fourth, Eighth and Fourteenth Amendments to the United States

   Constitution, as described in the preceding paragraphs.

105. Defendants tolerated the police officers' repeated violations of the Fourth, Eighth and

   Fourteenth Amendments to the United States Constitution, which allowed MRYH

   employees to continue to engage in this unlawful behavior.

106. Defendants refused to discipline officers who violated citizens' constitutional rights to

   be free from violations of the Fourth, Eighth and Fourteenth Amendments to the United


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   States Constitution; failed to fully investigate allegations of misconduct, looked the other

   way, and thus, tacitly encouraged such behavior. In doing so, Defendants condoned,

   ratified or encouraged MRYH employees to violate the Fourth, Eighth and Fourteenth

   Amendments to the United States Constitution as a matter of policy.

107. That the conduct of the aforementioned Defendants, individually, corporately and as

   agents of said individual Defendants, deprived Plaintiff of his clearly established rights,

   privileges, and immunities guaranteed him under the United States Constitution,

   specifically those set forth under the Fourth, Eighth and Fourteenth Amendments to

   same, as evidenced by the following particulars:

       a. Permitting Plaintiff and other MRYH residents to be subject to excessive force

           and cruel and unusual punishment, in violation of the Fourth, Eighth and

           Fourteenth Amendments;

       b. Failing to properly train and supervise the individuals within MRYH having

           custodial and/or care giving responsibilities over Plaintiff to ensure the above

           breaches/deviations were not committed;

       c. Tolerating the conduct of individuals within MRYH having custodial and/or care

           when it was apparent that there was a pattern of treatment of Plaintiff and other

           persons in a manner consistent with excessive force and in violation of his Fourth,

           Eighth and Fourteenth Amendment protection against excessive force and cruel

           and unusual punishment; and

       d. Failing to discipline the individuals within MRYH having custodial and/or care

           when it was apparent that they were using excessive force and cruel and unusual

           punishment.


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108. As a direct and proximate result of Defendants’ actions and inactions, Plaintiff suffered

   damages, including emotional distress, great pain of mind and body, shock,

   embarrassment, humiliation, loss of self-esteem, physical pain and suffering, a loss of

   income, and a loss of education.

109. In subjecting Plaintiff to this wrongful treatment as described, and through its violations

   of Plaintiff’s Constitutional rights, Defendants acted willfully and maliciously with the

   intent to harm Plaintiff, and in conscious disregard of Plaintiff’s rights, so as to constitute

   malice and oppression. Plaintiff is therefore entitled to the recovery of punitive damages,

   in an amount to be determined by the court, against Defendants, in a sum to be shown

   according to proof.

110. Furthermore, Plaintiff requests the award of attorneys’ fees pursuant to 42 U.S.C. §

   1988(b).

   WHEREFORE, Plaintiff demands judgment against Defendants, individually, jointly

   and/or severally, in an amount in excess of Seventy-Five Thousand Dollars ($75,000.00),

   exclusive of prejudgment interest, costs and damages for pre-judgment delay, punitive

   damages, and such other legal and equitable relief as the Court deems appropriate.

                               Michigan State Law Claims

                         COUNT 5 – Negligence and Recklessness
                                As to All Defendants

111. Plaintiff alleges and incorporates via reference the allegations contained in all the above

   paragraphs, as fully as though the same were set forth herein at length.

112. Defendants had a duty to act reasonably and to maintain a safe environment for

   Plaintiff while within the Defendants’ care.




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113. Defendants are not afforded immunity via M.C.L. 691.1635 or 691.1407 because the

   conduct which caused Plaintiff’s injuries amounts to gross negligence and/or willful

   misconduct and/or was prohibited by law and a violation of the prohibition is punishable

   by imprisonment.

114. Defendants acted with a lack of care towards Plaintiff through their acts and omissions,

   including: allowing and authorizing a culture of abuse at MRYH facilities; failing to train

   and educate staff regarding the identification and reporting of abuse; failing to properly

   supervise youth attending MRYH programs; failing to adequately train staff regarding

   best practices when working with youth with intellectual and developmental disabilities

   and youth with advanced mental health needs; failing to adequately supervise staff

   members to proactively identify and curtail signs of abuse; failing to maintain MRYH

   facilities so as to eliminate “blind spots” where abuse could easily occur without

   detection; failing to instruct supervisors regarding circumstances indicating a high risk of

   abuse; failing to monitor Plaintiff’s wellbeing while in MRYH programming so as to

   detect incidents of abuse; failing to take adequate and appropriate measures after learning

   about incidents of physical, sexual and/or emotional abuse at MRYH; and failing to

   prevent serious and lasting psychological, physical, and emotional harm to youth in

   MRYH programs.

115. Moreover, Defendants’ lack of and/or failure to enforce adequate policies and

   procedures for the prevention of, and proper response to, abuse of children exacerbated

   and amplified the trauma of the actual abuse due to institutional betrayal.

116. As a direct and proximate result of Defendants’ actions and inactions, Plaintiff suffered

   damages, including emotional distress, great pain of mind and body, shock,


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   embarrassment, humiliation, loss of self-esteem, physical pain and suffering, a loss of

   income, and a loss of education.

   WHEREFORE, Plaintiff, demands judgment against Defendant, individually, jointly

   and/or severally, in an amount in excess of Seventy-Five Thousand Dollars ($75,000.00),

   exclusive of prejudgment interest, costs and damages for pre-judgment delay, punitive

   damages, and such other legal and equitable relief as the Court deems appropriate.

                              COUNT 6 – Negligent Retention
                                 As to All Defendants

117. Plaintiff alleges and incorporates via reference the allegations contained in all the above

   paragraphs, as fully as though the same were set forth herein at length.

118. Defendants became aware or reasonably should have become aware that their

   employees were engaged in acts of physical, sexual, and/or emotional abuse of MRYH

   patients and residents, and yet failed to investigate, discharge, or reassign these

   employees.

119. Defendants reasonably should have known that their staff physically and sexually

   abused Plaintiff while in their care. With reasonable supervision, protocols, and

   checkpoints in place, Defendants should have been aware of these egregious acts.

   Nonetheless, Defendants allowed the abuse to occur and retained the employees

   responsible for these heinous acts without taking corrective action.

120. Defendants reasonably should have known that MRYH staff verbally and physically

   abused Plaintiff. Multiple staff observed Plaintiff’s abuse, putting MRYH on actual

   notice of its employees’ bad acts.




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121. Defendants also knew, through the direct observation of its staff, that MRYH staffers

   physically abused Plaintiff, routinely watched and groomed Plaintiff and other children

   for sexual abuse and threatened them with physical harm when they tried to report such.

122. With reasonable supervision and protocols in place, Defendants would have responded

   appropriately to each of these incidents and ensured children were safe from future abuse.

123. Defendants reasonably should have known that Ms. Nicole sexually abused Plaintiff on

   MRYH property. Had Defendants adequately and appropriately supervised and exercised

   control over its staff, they would have been aware of the abuse that occurred to Plaintiff.

124. Defendants knew or reasonably should have known of Plaintiff’s and other children’s

   abuse yet negligently retained the employees responsible for the abuse. Because of

   Defendants’ breach of their duty to take action to prevent reasonably foreseeable harm by

   their employees under these circumstances, Plaintiff was grievously harmed.

125. Moreover, Defendants’ lack of and/or failure to enforce adequate policies and

   procedures for the prevention of, and proper response to, abuse of children exacerbated

   and amplified the trauma of the actual abuse due to institutional betrayal.

126. As a direct and proximate result of Defendants’ actions and inactions, Plaintiff suffered

   damages, including emotional distress, great pain of mind and body, shock,

   embarrassment, humiliation, loss of self-esteem, physical pain and suffering, a loss of

   income, and a loss of education.

   WHEREFORE, Plaintiff, demands judgment against Defendants, individually, jointly

   and/or severally, in an amount in excess of Seventy-Five Thousand Dollars ($75,000.00),

   exclusive of prejudgment interest, costs and damages for pre-judgment delay, punitive

   damages, and such other legal and equitable relief as the Court deems appropriate.


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                            COUNT 7 – Negligent Supervision
                                As to All Defendants

127. Plaintiff alleges and incorporates via reference the allegations contained in all the above

   paragraphs, as fully as though the same were set forth herein at length.

128. Defendants knew or should have known of the need to properly and effectively

   observe, manage, direct, oversee, and/or supervise administrators, staff, teachers,

   counselors, employees, agents, servants, representatives, and/or ostensible agents in their

   relationships with children.

129. Defendants knew or should have known of the particular risk posed by the staff

   members named within the Complaint and others based on, among other things, their

   inappropriate and/or questionable conduct; their history of sexually, physically, and/or

   emotionally abusing children; and/or their behavior indicative of an intent to isolate,

   groom, and/or facilitate sexually contacting and/or abusing a minor child, including the

   abuse by the staff members named within the Complaint and others.

130. The negligence, carelessness, and/or recklessness of Defendants, for the conduct of

   their actual or apparent administrators staff, teacher, counselors, employees, agents,

   servants, representatives, and/or ostensible agents, in the hiring, certifying, assigning,

   observation, retaining, supervision, management, oversight, direction, administration,

   and/or otherwise control of the staff members named within the Complaint and/or other

   staff members consists of one or more of the following:

       a. Negligent hiring, certifying, assigning, observation, retaining, supervision,

           management, oversight, direction, administration, and/or otherwise control of

           staff and/or teachers and/or counselors in the employ of Defendants;




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       b. Failing to use due care in hiring, certifying, assigning, observation, retaining,

           supervision, management, oversight, direction, administration, and/or otherwise

           control of the staff members named within the Complaint and/or other staff

           members and the relationship of the staff members named within the Complaint

           and others and/or other staff members with Plaintiff; and

       c. Failing to investigate and supervise the staff members named within the

           Complaint and/or other staff members and their relationship and/or interactions

           with Plaintiff.

131. Moreover, Defendants’ lack of and/or failure to enforce adequate policies and

   procedures for the prevention of, and proper response to, abuse of children exacerbated

   and amplified the trauma of the actual abuse due to institutional betrayal.

132. As a direct and proximate result of Defendants’ actions and inactions, Plaintiff suffered

   damages, including emotional distress, great pain of mind and body, shock,

   embarrassment, humiliation, loss of self-esteem, physical pain and suffering, a loss of

   income, and a loss of education.

   WHEREFORE, Plaintiff, demands judgment against Defendants, individually, jointly

   and/or severally, in an amount in excess of Seventy-Five Thousand Dollars ($75,000.00),

   exclusive of prejudgment interest, costs and damages for pre-judgment delay, punitive

   damages, and such other legal and equitable relief as the Court deems appropriate.

                                COUNT 8 – Gross Negligence
                                   As to All Defendants

133. Plaintiff alleges and incorporates via reference the allegations contained in all the above

   paragraphs, as fully as though the same were set forth herein at length.




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134. Defendants owed Plaintiff a duty to provide a safe environment with adequate

   protection, supervision, and care while in their custody.

135. Defendants acted with a lack of care towards Plaintiff by demonstrating a conscious

   disregard or indifference towards his safety and wellbeing and significantly departing

   from how a reasonably careful person would act under the circumstances.

136. At all relevant times, Defendants owed a duty to Plaintiff to implement practices and

   policies to:

       a. Prevent sexual, emotional, and physical abuse of youth by MRYH staff;

       b. Prohibit and prevent romantic or sexual relationships between youth and MRYH

           staff;

       c. Prohibit grooming and other sexually exploitative behavior by MRYH staff;

       d. Require the prompt reporting of any allegations or suspicions of sexual, physical

           or emotional abuse of youth in MRYH programs by staff or by peers;

       e. Require the independent investigation of all reports of sexual, physical, or

           emotional abuse of youth in MRYH programs;

       f. Mandate the training of all staff who work directly with youth in MRYH

           programs regarding sexual abuse, sexual relationships with residents, grooming,

           sexual reactivity, the prohibition thereof, and reporting obligations;

       g. Protect Plaintiff and from such abuse and foreseeable risks; and

       h. Provide a safe environment for children with disabilities and mental health needs

           free from sexual abuse, harassment, and physical harm.

137. Defendants’ duty arose from taking responsibility for the care and custody of youth

   attending their programs.


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138. Defendants acted recklessly and indifferently as the entity responsible for the care and

   custody of children with disabilities and advanced mental health needs who sought out

   MRYH for treatment, growth, and education, including Plaintiff.

139. Defendants knew or should have known that by failing to take appropriate measures

   with respect to the lack of appropriate training, supervision, and oversight of its facilities

   and employees who worked closely with children and young adults suffering with

   advanced mental health needs, criminal records, unstable family relationships, substance

   abuse concerns, and/or intellectual and developmental disabilities, they created an

   unreasonable risk of harm to Plaintiff so great that it was highly probably that harm

   would result.

140. Youth like Plaintiff in residential programs like MRYH are easily targeted because they

   are more likely to be perceived as weak or vulnerable and are seen as less likely to report

   abuse. In a group home or residential treatment setting, abuse can more easily be hidden,

   where children have limited access to parents, guardians, police, advocates, or social

   services representatives who can intervene.

141. Defendants should have been aware of the delicate nature of working with these youth

   and the likelihood of abuse and harm resulting from the failure to closely monitor, train,

   and supervise their staff. Defendants thus owed its resident youth a duty to protect them

   from the foreseeable risk of staff who take advantage of children’s vulnerability and

   staff’s power differential for improper purposes.

142. By recklessly failing to keep these children safe while in its care and custody,

   Defendants exhibited a willful disregard for necessary precautions to reasonably protect

   Plaintiff.


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143. Moreover, Defendants’ lack of and/or failure to enforce adequate policies and

   procedures for the prevention of, and proper response to, abuse of children exacerbated

   and amplified the trauma of the actual abuse due to institutional betrayal.

144. As a direct and proximate result of Defendants’ actions and inactions, Plaintiff has

   suffered and/or continue to suffer from physical pain and suffering, mental and emotional

   distress and suffering, physical manifestations of this distress, loss of self-esteem,

   anxiety, fright, grief, humiliation, loss of enjoyment of life, a loss of income, and a loss of

   education. Plaintiff was prevented and will continue to be prevented from performing his

   activities of daily living due to the gross negligence of Defendants.

   WHEREFORE, Plaintiff, demands judgment against Defendants, individually, jointly

   and/or severally, in an amount in excess of Seventy-Five Thousand Dollars ($75,000.00),

   exclusive of prejudgment interest, costs and damages for pre-judgment delay, punitive

   damages, and such other legal and equitable relief as the Court deems appropriate.

                              COUNT 9 – Vicarious Liability
                               As to the MRYH Defendants

145. Plaintiff alleges and incorporates via reference the allegations contained in all the above

   paragraphs, as fully as though the same were set forth herein at length.

146. When Plaintiff was sexually, physically, and emotionally abused by MRYH staff

   members, these staff members were acting within their scope of employment in

   supervising and providing treatment to MRYH patients.

147. MRYH is vicariously liable under the doctrine of respondeat superior for the tortious

   conduct committed by their staff members against children at MRYH.

148. MRYH ratified its staff members’ abusive conduct towards Plaintiff by failing to

   discipline, take corrective action, and/or report the child abuse.

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149. These tortious acts were also foreseeable, as MRYH was aware of repeated incidents of

   sexual, physical, and emotional abuse of MRYH patients within their facilities. MRYH

   knew that its patients, including Plaintiff, were particularly susceptible to abuse as youth

   with disabilities and critical mental health needs. MRYH knew, or reasonably should

   have known, that by failing to implement appropriate procedures, policies, and

   safeguards, it was highly foreseeable that its staff would continue to abuse vulnerable

   children in their treatment programs, including Plaintiff.

150. As a direct and proximate result of MRYH’s actions and inactions, Plaintiff has

   suffered and/or continue to suffer from physical pain and suffering, mental and emotional

   distress and suffering, physical manifestations of this distress, loss of self-esteem,

   anxiety, fright, grief, humiliation, loss of enjoyment of life, a loss of income, and a loss of

   education. Plaintiff was prevented and will continue to be prevented from performing his

   activities of daily living due to the gross negligence of MRYH.

   WHEREFORE, Plaintiff, demands judgment against Defendants, individually, jointly

   and/or severally, in an amount in excess of Seventy-Five Thousand Dollars ($75,000.00),

   exclusive of prejudgment interest, costs and damages for pre-judgment delay, punitive

   damages, and such other legal and equitable relief as the Court deems appropriate.

                 COUNT 10 – Negligent Infliction of Emotional Distress
                           As to the MRYH Defendants

151. Plaintiff alleges and incorporates via reference the allegations contained in all the above

   paragraphs, as fully as though the same were set forth herein at length.

152. Pursuant to Michigan law, MRYH’s negligent acts and omissions constitute the

   negligent infliction of emotional distress, as: 1) MRYH owed a duty of care to Plaintiff;

   2) MRYH breached the duty of care by failing to use due care in protecting Plaintiff from

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   abuse, as described above; 3) MRYH’s negligence caused Plaintiff physical impact or

   injury, as he was physically and sexually abused by MRYH staff; and 4) Plaintiff

   suffered emotional distress as a result of MRYH’s negligent conduct.

153. Moreover, MRYH’s lack of and/or failure to enforce adequate policies and procedures

   for the prevention of, and proper response to, abuse of its residents exacerbated and

   amplified the trauma of the actual abuse due to institutional betrayal.

154. As a direct and proximate result of MRYH’s actions and inactions, Plaintiff has

   suffered and/or continue to suffer from physical pain and suffering, mental and emotional

   distress and suffering, physical manifestations of this distress, loss of self-esteem,

   anxiety, fright, grief, humiliation, loss of enjoyment of life, a loss of income, and a loss of

   education. Plaintiff was prevented and will continue to be prevented from performing his

   activities of daily living due to the gross negligence of MRYH.

155. WHEREFORE, Plaintiff, demands judgment against Defendants, individually, jointly

   and/or severally, in an amount in excess of Seventy-Five Thousand Dollars ($75,000.00),

   exclusive of prejudgment interest, costs and damages for pre-judgment delay, punitive

   damages, and such other legal and equitable relief as the Court deems appropriate.

                COUNT 11 – Intentional Infliction of Emotional Distress
                           As to the MRYH Defendants

156. Plaintiff alleges and incorporates via reference the allegations contained in all the above

   paragraphs, as fully as though the same were set forth herein at length.

157. MRYH’s conduct was extreme and outrageous.

158. Muskegon River Youth Home actions and inactions were outrageous and extreme,

   shocking, atrocious, and intolerable. Their conduct goes beyond the possible bounds of




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   decency, and Muskegon River Youth Home acted with the reckless disregard of the

   probability that Plaintiff would suffer emotional distress as a result.

159. Muskegon River Youth Home conduct was a substantial factor in causing severe

   emotional and psychological distress to Plaintiff. This distress was of such an intensity

   that no reasonable person should be expected to endure it.

160. Moreover, Muskegon River Youth Home lack of and/or failure to enforce adequate

   policies and procedures for the prevention of, and proper response to, abuse of its patients

   exacerbates and amplifies the trauma of the actual abuse due to institutional betrayal.

161. By permitting a culture of systematic physical, emotional, and sexual abuse at

   Muskegon River Youth Home facilities, Muskegon River Youth Home caused Plaintiff to

   suffer, among other things, appalling and deplorable acts of physical, sexual, and/or

   emotional abuse, and the resulting pain, suffering, humiliation, grief, shame, disgust,

   anxiety, nervousness, shock, distrust, and loss of enjoyment of life. Plaintiff will continue

   to suffer from these enduring harms and has incurred/will continue to incur lost earnings,

   lost earning capacity, and expenses for psychological treatments and counseling.

162. WHEREFORE, Plaintiff, demands judgment against Defendants, individually, jointly

   and/or severally, in an amount in excess of Seventy-Five Thousand Dollars ($75,000.00),

   exclusive of prejudgment interest, costs and damages for pre-judgment delay, punitive

   damages, and such other legal and equitable relief as the Court deems appropriate.

                          COUNT 12 – Breach of Fiduciary Duty
                             As to the MRYH Defendants

163. Plaintiff alleges and incorporates via reference the allegations contained in all the above

   paragraphs, as fully as though the same were set forth herein at length.




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164. MRYH owed a fiduciary duty to act in the best interests of the youth they serve. When

   a child was placed in MRYH, MRYH assumed the fiduciary duty to ensure that the child

   received appropriate care and was safe from foreseeable harms.

165. By allowing and authorizing a culture of physical, emotional, and sexual abuse in its

   programs and facilities, repeatedly failing to report child abuse in its facility, allowing

   youth to be systematically abused while in MRYH programs, inadequately training and

   supervising employees, failing to maintain safe premises for youth which eliminated

   “blind spots,” and failing to monitor Plaintiff’s wellbeing so as to detect signs of abuse,

   among other failures, acts, and omissions as previously described, MRYH breached its

   fiduciary duty towards Plaintiff.

166. As a direct and proximate result of MRYH’s actions and inactions, Plaintiff has

   suffered and/or continue to suffer from physical pain and suffering, mental and emotional

   distress and suffering, physical manifestations of this distress, loss of self-esteem,

   anxiety, fright, grief, humiliation, loss of enjoyment of life, a loss of income, and a loss of

   education. Plaintiff was prevented and will continue to be prevented from performing his

   activities of daily living due to the gross negligence of MRYH.

   WHEREFORE, Plaintiff, demands judgment against Defendants, individually, jointly

   and/or severally, in an amount in excess of Seventy-Five Thousand Dollars ($75,000.00),

   exclusive of prejudgment interest, costs and damages for pre-judgment delay, punitive

   damages, and such other legal and equitable relief as the Court deems appropriate.




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               COUNT 13 – Violation of the Elliott Larsen Civil Rights Act
                    M.C.L. 37.2201 et seq. – Sex Discrimination
                                As to All Defendants

167. Plaintiff alleges and incorporates via reference the allegations contained in all the above

   paragraphs, as fully as though the same were set forth herein at length.

168.       Defendants MRYH and MOISD are educational institutions by and within the

   meaning of ELCRA, M.C.L. 37.2401.

169.       ELCRA prohibits discrimination in educational institutions based on sex,

   specifically providing that no school shall “[d]iscriminate against an individual in the full

   utilization of or benefit from the institution, or the services, activities, or programs

   provided by the institution because of . . . sex.” MCL 37.2402(a).

170.       Defendants violated the ELCRA by failing to timely investigate and respond to

   reports of sexual abuse, providing any interim measures to ensure the safety of the victim,

   and failing to commence any sort of investigation after a report was filed, and failing to

   adequately train and supervise their staff with respect to the handling of sex

   discrimination complaints.

171. As a direct and proximate result of Defendants’ actions and inactions, Plaintiff has

   suffered and/or continue to suffer from physical pain and suffering, mental and emotional

   distress and suffering, physical manifestations of this distress, loss of self-esteem,

   anxiety, fright, grief, humiliation, loss of enjoyment of life, a loss of income, and a loss of

   education. Plaintiff was prevented and will continue to be prevented from performing his

   activities of daily living due to the gross negligence of MRYH.

   WHEREFORE, Plaintiff, demands judgment against Defendants, individually, jointly

   and/or severally, in an amount in excess of Seventy-Five Thousand Dollars ($75,000.00),


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   exclusive of prejudgment interest, costs and damages for pre-judgment delay, punitive

   damages, and such other legal and equitable relief as the Court deems appropriate.

                                   PRAYER FOR RELIEF

172. Plaintiff alleges and incorporates via reference the allegations contained in all the above

   paragraphs, as fully as though the same were set forth herein at length.

173. Plaintiff respectfully requests the Court to enter judgment on his behalf as follows:

       a. Declaring that Defendants violated their mandatory reporting obligations;

       b. Ordering Defendants to make a complete disclosure of all records and information

           in their possession, custody, or control during the time period from five years

           before Plaintiff’s residency to the present pertaining to the abuse of students at

           MRYH. Plaintiff requests that the Court appoint a special master and/or take other

           appropriate measures to ensure sensitive information about the victims of

           Defendants' abuse remains confidential (unless authorized by a victim/survivor)

           and, additionally, provide a mechanism for the victims of abuse to review records

           pertaining to them to verify that they exist, are accurate, and complete, and are

           available to be reviewed by Michigan and/or other government officials and law

           enforcement agents;

       c. Ordering appropriate injunctive, declaratory, and other equitable relief;

       d. Issuing a writ of mandamus commanding Defendants to report, as required by law

           for, all child abuse presently known or suspected by them, and to submit proof of

           compliance with such order to the Court within 10 days of such order;

       e. Entering a judgment in favor of Plaintiff and against Defendants in an amount in

           excess of $75,000.00;


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          f. Awarding Plaintiff compensatory, restitutionary, general, consequential, punitive,

              and exemplary damages in an amount to be determined at trial;

          g. Awarding pre-judgment and post-judgment interest as permitted by law;

          h. Awarding reasonable attorneys' fees and costs, including expert fees as provided

              for by law; and

          i. Granting such other and further relief as the Court deems just and proper.

                                     JURY TRIAL DEMAND

   174. Plaintiff alleges and incorporates via reference the allegations contained in all the above

      paragraphs, as fully as though the same were set forth herein at length.

   175. Plaintiff demands a jury trial on all claims triable as a matter of right.



Date: April 21, 2025                                  Respectfully Submitted,

                                                      s/Elizabeth K. Abdnour
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                                                      *Admission application to be filed

                                                      ATTORNEYS FOR PLAINTIFF



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